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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

JOE HUNSINGER,                             §
                                           §
                 Plaintiff,                §
                                           §
v.                                         §       No. 3:21-cv-02843-N-BT
                                           §
ZETA GLOBAL HOLDINGS CORP. et              §
al.,                                       §
                                           §
                 Defendants.               §

                    NOTICE OF DEFICIENCY AND ORDER

        Upon review of the docket in this case, the Court finds no proper indication

 that Plaintiff properly served all Defendants. Under Rule 4(m) of the Federal Rules

 of Civil Procedure, on motion or on its own after notice to the plaintiff, the Court

 must dismiss a case in which service is not accomplished within 90 days, unless

 good cause is shown for failing to effect service within that time. Fed. R. Civ. P.

 4(m). The 90-day period generally runs from the filing of the original complaint.

 See id. Plaintiff filed his complaint more than 90 days ago—on November 15, 2021,

 but he has not filed with the Court proof of proper service on all Defendants.

       It is hereby ORDERED that Plaintiff must file proof of proper service on all

 Defendants no later than March 16, 2022, or show good cause in writing for

 failing to timely serve all Defendants. Failure to comply with this order will result

 in a recommendation that Plaintiff’s claims against any unserved Defendants be




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dismissed without prejudice for failure to effect service and prosecute pursuant to

Federal Rules of Civil Procedure 4(m) and 41(b).

      SO ORDERED.

      February 15, 2022.

                               ___________________________
                               REBECCA RUTHERFORD
                               UNITED STATES MAGISTRATE JUDGE




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